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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALABAMA
                                   MIDDLE DIVISION


                                             L119 JUL 3 1
DAMMUON EPPS,                                                 /1:-.   • 31 \
                                                                        Case No.: 3:18-cv-01017
              and                                                      ii


On behalf of:
   Minor child: K.A.E.
   Minor child: D.V.G.
   Minor child: K.A.G.                                                  Complaint: 42 U.S.C. 1983
   Minor child: D.A.G.
   Minor child: K.G.E.
   Minor child: L.D.E.
   Minor child: K.I.E.

             Plaintiff                                                  TRIAL BY JURY DEMANDED

             vs.



COUNTY OF RUSSELL,CITY OF PHENIX CITY,
ZACHARY COLLINS, GREGORY WARD,KELDIN                                    Ders;No_d          VI LUS, (Itc›.1
JONES,NANCY BUCKNER,STEPHANIE GILLISPIE,
                                                                                7/3Cdi cA
HEATH TAYLOR,ANGELA WHITNEY,SIDNEY
LANDREAU,FLORENCE BELLAMY,
CHERRY JONES,FLORENCE BELLAMY,JEANNA
ROSS,NANCY BUCKNER,DOES 1 - 25

              Defendant




                                                         I.

                                        JURISDICTION AND VENUE

   1.      Plaintiffs bring this lawsuit pursuant to 42 U.S.C. Section 1983 to redress the deprivation by

   defendants, at all times acting under color of state law, of rights secured to Plaintiffs under the United

   States Constitution, including the First, Fourth, Fifth, Ninth, Thirteenth and Fourteenth Amendments.

   2.      Jurisdiction is conferred on this Court by 28 U.S.C. section 1343 (3) and 1343 (4), which




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provides for original jurisdiction in this Court of all suits brought pursuant to 42 U.S.C. 1983. Jurisdiction

is also conferred by 28 U.S.C. 1331 (a) because claims for relief derive from the United States

Constitution and the laws of the United States.

3.       This Court has supplemental jurisdiction over Plaintiffs' state law causes of action pursuant to 28

U.S.C. § 1367(a).

4.       Venue properly lies in the Middle District of Alabama , in that the events and circumstances

herein alleged occurred in the County Russell, Alabama and at least one defendant resides in the County

of Russell Alabama.

5.      Plaintiff has exhausted his remedies, or otherwise complied with state law requirements for the

filing of appropriate notices of tort causes of action against defendants pursuant to state law, inclusive of

the filing of a Tort Claim Notice pursuant to Section 6-5-20; Section 11-12-8; and Section 11-47-23 Code

of Alabama.

                                                II. PARTIES

6.      Plaintiff Dammuon Epps (hereinafter, Mr. Epps) at all times relevant herein, was a resident of the

County of Russell, and the lawful biological parent oftwo daughters: K.A.G.(age 8 at the inception of the

events of October 1, 2014) and L.D.E.(age 17 months at the inception of the events of October 1, 2014);

and five sons: K.A.E.(age 12 at the inception of the events of October 1, 2014), D.V.G.(age 9 at the

inception of the events of October 1, 2014), D.A.G.(age 6 at the inception of the events of October 1,

2014), K.G.E.(age 4 at the inception of the events of October 1, 2014) and K.I.E.(2 weeks old at the

inception of the events of June 16, 2016). The children's full names are known to all defendants, and are

being withheld herein, unless otherwise ordered by the court, to provide them some level of

confidentiality. The Plaintiffs are often referred to collectively herein as "parents." Prior to the removal of

the children from the parents on November 6, 2014 and June 6, 2016, as detailed hereinbelow, the parents

raised, nurtured, provided guidance, education, and care, for the minor children, in a loving, emotionally,




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academically, and financially supportive, intact nuclear family.

7.       Minor Plaintiffs K.A.G, L.D.E., K.A.E, D.V.G, D.A.G., K.G.E., K.I.E., Plaintiffs herein, are

represented by Mr. Epps as Guardian Ad Litem, and/or Mr. Epps has applied to this court for appointment

as the childrens' Guardian Ad Litem. The children will collectively be referred to herein on occasion as

"the children" and/or "minor Plaintiffs." They will also be included in the references to "Plaintiffs" as

used herein, as indicated by the context and circumstances in which the term "Plaintiffs" is used.

8.       Defendant COUNTY OF RUSSELL,("COUNTY"),is a municipality in corporate form,

organized, and existing under the laws of the State of Alabama, and has administrative subunits thereof,

the RUSSELL COUNTY CHILDREN'S POLICY COUNCIL,(hereinafter "RCCPC" and/or "Council"),

and the RUSSELL COUNTY DEPARTMENT OF HUMAN RESOURCES,(hereinafter "RCDHR"

and/or referred to as "Agency"), which will collectively be referred to herein as COUNTY. RCCPC and

RCDHR are each county governmental agencies, which are organized, and acting pursuant to the law and

policies of defendant COUNTY, which together with COUNTY, promulgated, encouraged, and/or

permitted, the policies, patterns, and practices under which the individual defendants, and Does 1 — 25,

committed the acts, or omissions complained of herein, and condoned, ratified, and encouraged the

conduct of the COUNTY employee/agent defendants as complained of herein, or failed to train, or

inadequately trained the COUNTY employee/agent-defendants.

9.      Plaintiff hereby sues all agencies and departmental units of COUNTY specified hereinabove

under the designation of COUNTY herein, but may designate RCCPC,and/or RCDHR as appropriate in

the context of the situation or circumstances being described.

10.     As formulators of general policies, rules, and regulations goveming RCCPC,RCDHR and "CPS

Prevention Assessment", COUNTY had primary responsibility for the direction, hiring, training,

education, regulation, and supervision of the employees, agents, social workers, including supervisors and

directors, of said local agencies, and/or departments, and Plaintiffs are informed and believe that it was




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COUNTY which promulgated, encouraged, coordinated, administered and/or permitted the policies,

customs, and/or procedures under which the individual defendants committed the acts, or omissions

contained herein.

11.      Defendant CITY OF PHENIX,("CITY"), is a mimicipality in corporate form, organized, and

existing under the laws of the State of Alabama, that has promulgated, encouraged, and/or permitted, the

policies, pattems, and practices under which the individual defendants and Does 1-25 committed the acts,

or omissions complained of herein, and condoned, ratified and encouraged the conduct of the CITY

employee-defendants and agents, as complained of herein, or failed to train, or inadequately trained the

CITY employee-defendants.

12.     In addition, CITY had as a law enforcement subunit thereof, the PHENIX CITY POLICE

DEPARTMENT (hereinafter "PCPD").

13.      As an entity within RCCPC, Defendant CITY, at all times relevant, was involved in the creation,

and implementation of the policies and patterns of RCCPC complained of herein, and Plaintiffs are

informed, and believe, and thereon allege that it was CITY, in conjunction with COUNTY, which

promulgated, encouraged, administered, and/or permitted, the policies, practices, customs, and procedures

under which the individual defendant employees/agents of COUNTY and CITY committed the acts, or

omissions complained of herein.

14.     Plaintiffs hereby sue all agencies and departmental units of CITY specified hereinabove under the

designation of CITY herein, but may designate PCPD as appropriate in the context of the situation or

circumstances being described.

15.     Defendant Nancy Buckner,(hereinafter "BUCKNEW),is being sued in her individual, and

official capacity as an Officer within DECE's Alabama Children's Policy Council,(hereinafter "ACPC").

As a part of her duty within the Alabama Children's Policy Council, BUCKNER managed, coordinated,

promulgated, encouraged, and /permitted the policies, patterns, and practices under which the individual




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defendants and Does 1-25 committed the acts, or omissions complained of herein, and condoned, ratified,

and encouraged the conduct of the Defendants to execute the practices and policies of RCCPC

complained of herein in furtherance of those duties.

16.      Defendant Jeanna Ross,(hereinafter "ROSS"), is being sued in her individual, and official

capacity as Chair of ACPC and Secretary of the Department of Early Childhood Education. As Secretary

of DECE,and Chair of ACPC, ROSS managed, coordinated, promulgated, encouraged, and/or permitted

the policies, patterns, and practices under which the individual defendants and Does 1-25 committed the

acts, or omissions complained of herein, and condoned, ratified, and or encouraged the conduct of the

Defendants complained of herein in furtherance of duties associated with ACPC and DECE.

17.      As managers, and individuals responsible for the supervision, and oversight of RCCPC,

BUCKNER and ROSS had primary responsibility for the direction, hiring, training, education, regulation,

and supervision of the RCCPC officers and agents, including RCCPC Chairman, and Plaintiffs are

informed, and believe, that it was ROSS and BUCKNER,in conjunction with CITY and COUNTY, who

promulgated, encouraged, coordinated, administered and/or permitted the policies, customs, and/or

procedures under which the individual defendants, COUNTY and CITY, committed the acts or omissions

contained herein.

18.      Plaintiffs allege DECE, COUNTY,and CITY, either intentionally, or recklessly, whether as a

result of policies, practices, customs, or procedures,("policies-), or as a result of ineffective, non-existent,

or inadequate training and education of employees and agents,("training"), caused the individually named

employee/agent-defendants to engage in the actions, or inactions complained of herein, and such policies

and training were a moving force responsible for the acts or omissions of said individually named

defendant employees and the violations of the rights of the Plaintiffs as complained of herein.

19.     Plaintiffs are informed and believe, and thereon allege that DECE, COUNTY,and CITY, have a

policy, pattern, practice, custom, or procedure,("policy"), which contains the following features




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constituting a deliberate indifference to the rights and safety offamilies such as Plaintiffs family who

reside in the County of Russell;

- A policy authorizing, and/or ratifying, without threat of discipline, reprimand, or correction, the

organization, implementation, and operation of Family Dependency Court, whose procedures, patterns

and practices involve predetermined adjudications of dependency with RCCPC Chairman presiding over

juvenile proceedings in the complete absence ofjurisdiction, upon petition by RCDHR Protective

Services Personnel without standing to initiate such dependency action, for the purpose of expanding the

capacity of COUNTY and local agencies to interfere with the familial integrity of families residing in the

county through court intervention without the presence of imminent danger, abandonment or imminent

risk;

- A policy authorizing, and/or ratifying without threat of discipline, reprimand or correction the repeated

removal of children from their parents or guardians without a warrant, consent, or imminent risk of

serious bodily injury to a child[ren] such that would justify or make lawful the removal of the child,

- A policy authorizing, and/or ratifying without threat of discipline, reprimand, or correction, the refusal

of RCDHR employees, agents and assigns to fulfill their duty to modify and/or lift the orders which are

known to impose requirements inconsistent with best practice;

- A policy authorizing, or ratifying, without threat of discipline, reprimand, or correction, the inclusion of

false statements, half-truths, and misrepresentations in reports created for the purposes depriving the

Plaintiffs of familial association, as well as the intentional failure to include information which is

exculpatory to the proposition that "detention" of the children is necessary for their protection,

- A policy authorizing, and/or ratifying the creation, and repeated use of"DHR Dependency Courts",

which are incapable of providing impartiality, fair proceedings, disinterested adjudicators of fact, due

process or judicial review for the purpose of removing children from the custody of their parents without

warrant, consent, or imminent risk of serious bodily injury to a child[ren] such that would justify or make




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lawful the removal of the child;

- A policy authorizing, or ratifying the use RCDHR's investigative powers to coerce, threaten, and traffic

children into voluntary children's programs and services against the wishes of fit parents and best interest

of the children and without the presence of abuse and/or neglect as such that would justify or make lawful

use of RCDHR investigative powers;

- A policy of depriving parents and children of familial association in predetermined proceedings without

the presence of danger, abuse, neglect, or risk, as defined by law, so that parents will be compelled to

agree to lesser allegations with lesser consequences to the continuation of the parent-child relationship

rather than contest the necessity ofjuvenile dependency court jurisdiction and the continued involvement

of RCDHR in the family's life; and

- A policy of restricting familial association and terminating parental rights in predetermined proceedings

without due process,judicial review, or reasonable efforts, when parents fail to waive rights to privacy,

refuse children services, or seek redress in actions independent of RCCPC's Dependency Court;

20.      Plaintiff is informed and believes, and thereon alleges, that DECE,COUNTY and CITY have no

training, or inadequate training, on:

- the scope, nature, and importance of the 14th Amendment based rights of familial association, including

not only the right to raise and care for one's child without unreasonable government interference, and the

right of parents to refuse services, immunizations, and'or other medical treatment, and to receive advance

notice of any medical testing, evaluation, or provision of services for their children, and to attend any

medical procedures for their children in the care of COUNTY;

- the scope of the separation of powers doctrine for the State, the prohibitions and limitations of

extrajudicial activities and appointments, Judicial Cannons connected to extrajudicial activities;

- the nature, extent, and duration of psychological and emotional damage caused to children and parents

by the unlawful and/or unreasonable intervention of government actors acting under the guise of




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protecting children, including but not limited to: 1.) the baseless, unreasonable, unlawful removal of

children from their parents; 2.) the inclusion of false and misleading statements, as well as; 3.) utilizing

mock juvenile dependency court orders and reports, in an effort to portray the parents, child, and

circumstances in a false light in order to influence grant appropriations, and to retain custody of children;

4.) the use of threats, intimidation, and coercion to force parents to waive their rights, including threats of

the removal of children and including unfavorable and false statements, as well as misrepresentation of

facts (i.e. "half-truths") in reports submitted to Family Dependency Court for the purpose of insuring and

continuing the separation of family members to their detriment and in violation of their rights under both

state and federal law;

- the reasons behind, the existence of, and the use of protective custody warrants and investigations

pursuant to Alabama law specifically, and the use of warrants generally when considering the removal of

children from their parents/caretakers that are not at imminent risk of serious bodily injury; and

- the existence and relevance of federal laws and aprecedent on the removal of children from their parents

/ guardians in the context of an investigation of a child abuse or neglect referral.

21.        Defendant Zach Collins("COLLINS"), whose acts as alleged herein were performed under color

of state law, is being sued in his individual capacity and official capacity as chair of RCCPC, and at all

times relevant thereto, committed said acts pursuant to his duties as RCCPC chairman. COLLINS' acts

were at all times material hereto and upon information and belief, related to his duties as RCCPC

chairman. As a part of his duties as chair of the RCCPC, COLLINS promulgated, encouraged, and

permitted the policies, patterns, and practices under which the individual defendants and Does 1-25

committed the acts, or omissions complained of herein, and condoned, ratified, and encouraged the

conduct of the Defendants and Does 1-25 complained of herein, between the dates November 1, 2016 to

present.

22.        Plaintiffs are informed and believe that COLLINS, in complete absence ofjurisdiction, directed




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GILLISPIE, WARD,and DOES 1-25, and conferred with them during "investigations" of Plaintiffs in

November 2016, and on April 11, 2017, and that he participated in the decision to investigate Mr. Epps

without an allegation of abuse or neglect and/or otherwise condoned, or agreed with GILLISPIE and

DOES 1-25 in spite of the absence of exigent circumstances, medical emergencies, immediate danger, or

belief that any criminal activity was occurring or afoot for the purposes of providing probable cause for a

search, and participated in the decision to terminate the parental rights of Mr. Epps without judicial

review or reasonable efforts, such that would make the termination lawful and search as described

hereinbelow.

23.      Defendant Sidney Landreau,("LANDREAU"), whose acts as alleged herein were performed

under color of state law, is being sued in his individual capacity and official capacity as chair of RCCPC,

and at all times relevant thereto, committed said acts pursuant to his duties as RCCPC chairman.

LANDREAU's acts were at all times material hereto and upon information and belief, related to his duties

as RCCPC chairman. As a part of his duties as chair of the RCCPC,LANDREAU prornulgated,

encouraged, and permitted the policies, patterns, and practices under which the individual defendants and

Does 1-25, committed the acts or omissions complained of herein, and condoned, ratified, and encouraged

the conduct of the Defendants and Does 1-25 complained of herein between the dates October 1, 2014 to

October 2016 .

24.     Plaintiffs are informed and believe that LANDREAU,in complete absence ofjurisdiction,

directed K. JONES,BELLAMY, WHATLEY, GILLISPIE,POLES, WARD,and DOES 1-25, and

conferred with them during the "investigation" of my home on October 1, 2014 through October 2016,

and that he participated in the decision to remove, or otherwise condoned, agreed with K. JONES,

BELLAMY,WHITLEY, GILLISPIE,POLES,and DOES on the removal of the minor children, and/or

ratified the removal after it occurred in spite of the absence of exigent circumstances or believed criminal

activity occurring or afoot, as described hereinbelow.




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25.     Defendant Health Taylor,(hereinafter,"TAYLOR"), whose acts as alleged herein were performed

under color of state law, is being sued in his individual capacity and official capacity as Officer of

RCCPC,and at all times relevant thereto, committed said acts pursuant to his duties as RCCPC chairman.

TAYLOR's acts were at all times material hereto and upon information and belief, related to his duties as

RCCPC chairman. As a part of his duties as an Officer of RCCPC,TAYLOR promulgated, encouraged,

and permitted the policies, patterns, and practices under which the individual defendants and Does 1-25,

committed the acts or omissions complained of herein, and condoned, ratified, and encouraged the

conduct of the Defendants and Does 1-25 complained of herein between the dates October 1, 2014 to

October 2016 .

26.     Plaintiffs are informed and believe that TAYLOR directed the individual RCSO Defendants and

DOES 1-25, and conferred with them during the "investigatioe of my home and children on NOvember

6, 2014 and April 11, 2018, and that he participated in the decision to remove, or otherwise condoned, and

/or agreed with COUNTY on the removal of the minor children, and/or ratified the removal after it

occurred, despite the absence of exigent circumstances, immediate danger, or believed criminal activity

occurring or afoot, as described hereinbelow adn his failure to investigate anything..

27.      Defendant Stephanie Gillispie,("GILLISPIE"), whose acts are alleged herein were performed

under color of state law, was at all times material hereto, upon Plaintiffs' information and belief, a social

worker, employed by RCDHR and the declarant under oath for the filing of petitions in the RCCPC

Family Dependency Drug Court matter involving the plaintiffs herein, which contained allegations which

were false, and/or made with knowledge of their falsity or reckless disregard for their truth or falsity.

28.     Defendant Keldin Jones,("K. JONES"), whose acts are alleged herein were performed under

color of state law, was at all times material hereto, upon Plaintiffs' information and belief, a social worker,

employed by RCDHR,and the declarant under oath for the filing of the initial Petition in the RCCPC

Family Dependency Court matter involving the plaintiffs herein, which contained allegations which were




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false, and/or made with knowledge of their falsity or reckless disregard for their truth or falsity.

29.     Defendant Florence Bellamy,(hereinafter "BELLAMY"), whose acts are alleged herein were

performed under color of state law, was at all times material hereto, upon Plaintiffs' information and

belief, a social worker, employed by RCDHR,and a supervisor of other social workers, including K.

JONES.

30.     Plaintiffs are informed and believe, that BELLAMY was the supervisor that K. JONES conferred

with during her -investigatioe of my home on October 1, 2014 through January 2015, and that she

participated in the decision to remove, or otherwise condoned, agreed with K. JONES on the removal of

the minor children, and or ratified the removal after it occurred, despite her failure to "investigate"

anything, and in spite of the absence of exigent circumstances, immediate danger, or belief that criminal

activity was occurring or afoot, as described hereinbelow. Upon information and belief, at all times

relevant hereto, BELLAMY held herself out to be a social worker despite not having the license required

to practice social work.

31.     Defendant Angela Whatley,(hereinafter "WHATLEY"), whose acts are alleged herein were

performed under color of state law, was at all times material hereto, upon Plaintiffs' information and

belief, a social worker, employed by RCDHR,and a supervisor of other social workers, including K.

JONES and GILLISPIE.

32.     Plaintiffs are informed and believe that WHITLEY was the supervisor that K. JONES and

GILLISPIE conferred with during her "investigatioe of my family from around or about January 2015

through July of 2016, and that she participated in the decision to remove, or otherwise condoned, or

agreed with K. JONES and GIILISPIE on the removal of the minor children, and/or ratified the removal

after it occurred, despite her failure to "investigate" anything, and in spite of the absence of exigent

circumstances, immediate danger, or believed criminal activity occurring or afoot, as described

hereinbelow. Upon information and belief, at all times relevant hereto, WHITLEY held herself out to be a




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social worker despite not having the license required to practice social work.

33.     Defendant Cherry Jones,(hereinafter "C. JONES"), whose acts are alleged herein were performed

under color of state law, was at all times material hereto, upon Plaintiffs' information and belief, a director

of RCDHR,and a supervisor of other social workers, including K. JONES, GILLISPIE, BELLAMY,

WHITLEY,POLES,and does 1-25. C. JONES, in conjunction with COUNTY, was also primarily

responsible for the hiring, training, education, regulation and supervision of RCDHR social workers,

including supervision of such employees through the agency of Russell County Board of Human

Resources, and Plaintiffs are informed, and believe, and thereon allege, that it was C. JONES, with the

approval and sanction of COUNTY, which promulgated, encouraged, administered, and/or permitted, the

policies, practices, customs, and procedures under which the individual defendant employees of RCDHR

committed the acts or omissions, and failures to train complained of herein.

34.     Plaintiffs are informed and believe that C. JONES directed K. JONES,BELLAMY, WHITLEY,

GILLISPIE,POLES and DOES 1-25, and conferred with thern during the "investigation" of rny home on

October 1, 2014 through July 2016, and that she participated in the decision to remove, or otherwise

condoned, and /or agreed with K. JONES,BELLAMY, WHITLEY, GILLISPIE,POLES,and DOES 1-25

on the removal of the minor children, and/or ratified the removal after it occurred, despite her failure to

"investigate" anything, and in spite of the absence of exigent circumstances, immediate danger, or

believed criminal activity occurring or afoot, as described hereinbelow.

35.     Defendant Gregory Ward,(hereinafter,"WARD"), whose acts are alleged herein were performed

under color of state law, was at all times material hereto, upon Plaintiffs' information and belief, a private

attorney acting on behalf of COUNTY,and that he participated in the decision to remove, or otherwise

condoned and/or agreed with K. JONES, BELLAMY, WHITLEY, GILLISPIE,POLES,and DOES 1-25

on the removal of the minor children, and/or ratified the removal after it occurred, despite his failure to

"investigate" anything, in spite of the absence of exigent circumstances, immediate danger, or believed




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criminal activity occurring or afoot, as described hereinbelow and despite state law prohibitions on the

representations of state agencies in courts of the state by private attorneys.

36.     Plaintiffs are informed, and believe, and thereon allege, that WARD knowingly held himself out

to be a legitimate agent of the State, empowered to attend sessions of court to discharge the business of

State of Alabarna or represent agencies of the State in courts knowing that those powers are expressly

reserved for the Office of District Attorney and the Office of Attorney General exclusively and that he did

not possess any certifications or appointments therefrorn that could empower hirn in th exercise of those

reserved powers.

37.     Plaintiffs are informed and believe, and thereon allege, that at all times herein rnentioned, each

and every defendant/agent employee of the COUNTY, CITY, DECE, ACPC, or RCCPC was the agent

and/or employee of their codefendants, and was acting either in their individual capacity or in the scope,

purpose and authority of COUNTY,DECE, CITY, ACPC and RCCPC, and/or in their employment or

agency with said entities, and with the knowledge, permission, ratification, and/or consent of said

co-defendants and or entities.

38.     Plaintiffs are informed and believe, and thereon allege, that each of the named individual

defendants herein, did knowingly and willingly, with a common intent and scheme set forth in further

detail herein below, conspire to injure Plaintiffs, and deprive Plaintiffs of their rights, liberties, and

interests, as such rights are afforded under the United States Constitution and the Alabama State

Constitution, and conspired generally to damage said Plaintiffs and inflict great injury upon them.

                                                  111. FACTS

             RCDHR'S FIRST ATTEMPTED UNWARRANTED SEARCH AND SEIZURE

37.     As local government agencies involved in the administration of children services within the State

of Alabama, RCDHR and RCCPC are part of a unified system, implemented by DECE, that includes a

comprehensive and coordinated effort to provide services to children and parents. According to DECE,




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this system consolidates existing state needs assessments to develop a strategic plan that makes it easier to

collaborate and coordinate among existing programs of early childhood care and education in a mixed

delivery system across the State. According to DECE,these needs assessments, and the processes

attached thereto, are the driving force for children's policies, following a pattern that allows each

individual county to "make a real difference in the lives of their children." Programs and services

included in this unified system include but are not limited to the following:

             a. Juvenile Druti Court and Juvenile Mental Health Court-

             b. Career Fairs and GED training

             c. Parcnting classcs for teens and adults

             d. Comprehensive Resource Directories

             e. Juvenile Redirection Program as an alternative for first time juvenile offenders,

38.      On information and belief, from 2000 to present, RCCPC,and its policies, programs, officers,

agents, employees and assigns, have operated in collaboration to serve COUNTY. The action steps,

programs, and policies of local agencies, including but not limited to RCDHR,governed by RCCPC

include but are not limited to:

             a. Needs Assessments

             b. Juvenile Drug Court

             c. DHR truancy assessment

             d. DHR dependency screening

             e. Dependency Drug Court

             f.   Children in Need of Services(CHINS)Program / Prevention

             g. Adoption

             h. Foster Parent Licensing

             i.   Child Support




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            j.    DHR child abuse and neglect

            k. Family Court/ Family Dependency Court / Drug Court

            1.    Child custody

            m. Family Reunification

39.     Pursuant to 26-24-33 Code of Alabama 1975, RCCPC's officers, agents, employees and assigns

include but are not limited to:

            a. A juvenile court judge in each county;

            b. the county director of the Department of Human Resources;

            c. a county representative of the Department of Mental Health;

             d. a county representative of the Department of Youth Services;

            e. the county superintendent of education and any city superintendent of education in the

                  county;

             f.   the county chiefjuvenile probation officer;

             g. a representative of the county health department;

             h. the district attorney;

             i.   local legislators;

            j.    the chair of the county commission;

             k. the sheriff,

             1.   and at least seven persons to be appointed by the county children's policy council from

                  the community including, but not limited to, state and local government officials,

                  practicing attorneys, community organizations, business and industry, and representatives

                  of any other agencies or organizations providing services to families and children in the

                  county.

40.     On October 1, 2014, at approximately 8:30 am, K. JONES and DOE #1 came to Mr. Epps' home,




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unannounced requesting that his wife,(hereinafter,"Mrs. Epps"), allow an unwarranted search and

seizure of the home. Mrs. Epps reports that neither K. JONES nor DOE #1 indicated that their visit was

connected to any:(1) non-accidental physical or mental injury;(2) sexual abuse or exploitation;(3)

negligent treatment or maltreatment including the failure to provide adequate food, medical treatment,

clothing or shelter;(4) or any other as level of abuse of neglect as defined in the State Department of

Human Resources(SDHR)Administrative Code rules for protective services or Section 26-14-1 through

26-14-13 Code of Alabama authorizing RCDHR's investigative duties.

41.     Mrs. Epps reports that K. JONES asked her to allow a search and seizure of the home and

children, but she refused and requested that K. JONES and DOE #1 get a warrant for any search or

seizure. She reports that K. JONES responded to the refusal ofthe unwarranted search by stating "the

state grants us the power to come in and question your kids". Mrs. Epps says that DOE #1 then

responded,"when we come, you are supposed to let us in." She states that she informed DOE #1 that she

had a right to privacy and that she required a lawful warrant to search the horne. She recalls that DOE #1

replied "really, we could have just brought the police from the beginning to do the questioning". Mrs.

Epps states that she responded to DOE #1 saying "the police need a warrant too". Mrs. Epps says she

continued to refuse the unwarranted search and seizure instructing K. JONES and DOE #1 to send

something in writing explaining why they were at the home. She reports that K. JONES and DOE #1

stayed approximately 15 minutes leaving after she refused the unwarranted search.

42.     On or about October 4, 2014, Mrs. Epps received a correspondence from K. JONES and director

of RCDHR,C. JONES, stating "Per your request. DHR is notifying you that a report was received

concerning the welfare of your children. Keldin Jones needs to interview you, your children and do a

home visit to help assess any needs your family may have. Please call her at(334)214-5809. Thank you

for your cooperation." This correspondence did not contain the name of any child or children allegedly

abused, the date or dates that any alleged abuse is thought to have occurred, or the substance of any




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person's actions which are alleged to be abusive. No correspondence of this type was ever received by Mr.

or Mrs. Epps within the first five (5) days after K. JONES and DOE #1's October 1, 2014 visit as required

pursuant to SDHR rules or Section 26-14-7.1 Code of Alabama.'s due process requirements.

43.     On or about October 9, 2014, Mrs. Epps responded to K. JONES and C. JONES'

correspondence. In the correspondence Mrs. Epps explained that she would not be submitting to an

unwarranted search of her home or waiving any state, federally or intemationally protected right to

privacy and informed C. JONES and K. JONES that their correspondence was deficiencient in producing

authority sufficient to compel her to allow a search against her wishes.

44.     On or about October 13, 2014, K. JONES contacted Mr. Epps via phone, in an attempt to

convince him to allow an unwarranted search and seizure of the home. Mr. Epps declined K. JONES'

solicitation and informed her that he reserved his right to privacy and did not wish any help or aid from

RCDHR. Mr. Epps explained to K. JONES that state and federal laws protects his family from undue

government interference and that if she didn't know the law she should ask the attorney general for the

state to clarify those rights and responsibilities to her.

45.     On or about October 21, 2014, Mr. Epps' father-in-law informed Mr. and Mrs. Epps that C.

JONES requested that he come our private residence to convince Mr. Epps and his wife to allow DHR to

perform an unwarranted search and seizure their private dwelling. Both Mr. Epps and his wife informed

him that they would not.

46.     On or about the morning of November 4, 2014, RCDHR received a notice of default from Mrs.

Epps again notifying them that they had not provided any probable cause to support any submission to an

search or seizure of the family without consent.

                           THE FIRST "JUVENILE PETITION" AND REPORT

47.     Later in the evening of November 4,2014 at or about 1830, a document (hereinafter referred to as

Petition 1) having the appearance of a child dependency action summons was thrown on Mr. Epps'




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property commanding the attendance of Mrs. Epps for a November 6, 2014, 0900 appearance at the

Russell County Courthouse. This left less than 36 hours to prepare a response, retain counsel, or gather

witnesses, despite the action apparently having been filed on October 14, 2014, and despite Mrs. Epps'

multiple request for some type of information about the agency's actions as required per their

administrative rules and statutory requirements regarding notice within 5 days of an investigation.

48.     The Petition 1 appeared be a juvenile proceeding utilizing the abbreviation "JU" as an identifier

prefixed to the case numbers and contained the threat of contempt of court for failure to attend.

49.     The first line of Petition 1 states "Comes now the undersigned for the State of Alabama. Russell

County Department of Human Resources, and files this petition." It was signed by K. Jones as RCDI-IR

and by Ward as counsel for RCDHR. The document did not indicate the presence ofthe District Attorney

or the Office of the Attorney General for the State of Alabama.

50.     At no time did Petition 1 allege that Mr. or Mrs. Epps or any other member of their household

committed or was about to commit some crime which posed an immediate danger, imminent risk or

conditions/circumstances of child abuse/ neglect per CA/N Allegations and Definitions(Alabama

Administrative Code 660-5-34).

51.     The petition did contain allegations that were completely false, and K. JONES made the

allegations, sworn to under penalty of perjury, without having conducted a CAN assessment or

investigation involving an interview of any member of the family regarding, without affording an

opportunity to contest the agency action in appeal as required law, without having filed any indicated

abuse or neglect report with the District Attorney, without any expressed authority from the State

legislature permitted RCDHR to initiate a dependency action and without any knowledge as to the truth,

accuracy, and/or falsity of the following allegations in the original Petition;

             a. "said child's parents, guardians and or other custodians are unable to discharge their
                responsibilities to and for the child, rendering said child dependent and in the need of
                supervision, treatment, rehabilitation, protection and/or care of the State of Alabama."

             b. "Said child is dependent pursuant to Ala. Code § 12-15-102 (8)(a)(2),(6) and (8)."


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             c. "That the child is dependent in Russell County, Alabama, pursuant to Ala. Code §
                12-15-103(8)(a) in that the child is a child is a child whose parent, legal guardian, legal
                custodian, or other custodian subjects the child or any other child in the household to
                abandonment, abuse, or neglect as defined in subdivision (4) of section 12-15-301 (and
                others), or allows the child to be so subjected, or who is dependent for any other reason."

             d. "This mother has five children, and the father of each child is unknown."

             e. "The mother has apparent mental health problems in that she claims diplomatic
                immunity, and threatened to report DHR to the Hauge convention (dealing with war
                crimes) as a defense."

             f. "None of her children are in school, though each is school-age."

52.     At no time has any Defendant had in their possession a written evaluation from a mental health

professional nor did K. JONES or WARD ever allege any extreme or aberrant behavior stemming from

severe impairment to a child's function as required for the purpose of screening and accepting reports of

child abuse/neglect received by the RCDHR (Alabama Administrative Code 660-5-34-.02(3)(c).).

Despite this requirement of a report and despite K. JONES, C. JONES and WARD lack of a report, K.

JONES, and WARD averred and/or attempted to lead the Family Dependency Drug Court to believe that

mother has apparent mental health problems despite having no facts in support of such proposition.

53.     K. JONES, and WARD,in conjunction with the filing of the original petition, and intended by

them for review by RCCPC Court at the first court hearing and provided to the court prior to the hearing,

filed a report(signed on October 3, 2014) on October 15, 2014. It is entitled Affidavit of Efforts and

Child Custody Proceeding Affidavit and is alleged to have been sworn to before a Magistrate to be true.

This document was not served with the petition on November 4, 2014 and did not become known to the

Plaintiffs until much later.

54.     Among the specific lies and misrepresentations included in the Affidavit of Efforts and Child

Custody Proceeding Affidavit - this list is not exhaustive- were the following items:

             a. "Said child is also in immediate or threatened danger of physical and/or emotional harm
                in that DHR received a report of concern for the children's welfare, mother will not allow
                DHR access to the children and should be removed."



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55.     This Affidavit of Efforts by K. JONES and WARD also did not allege and

conditions/circumstances of child abuse,' neglect per CA/N Allegations and Definitions.

56.     Despite being refused a search and seizure of the home on every occasion, at no time did K.

JONES,DOE #1 or WARD petition a court of competent jurisdiction pursuant to Section 26-14-7 Code of

Alabama 1975 for the purposes of protecting the PLAINTIFFS state and federal law right to privacy by

compelling Mr. or Mrs. Epps to allow the investigation to take place only after a showing of reasonable or

probable cause to believe that a crirne is being, or is about to be committed, so that facts based on

knowledge could be alleged in any anticipated court intervention. Despite greater than thirty days passing

between K. JONES and DOE #1's initial visit and the removal of the children from Mr. and Mrs. Epps'

custody, none of the PLAINTIFFS nor Mrs. Epps received any timely notice of a CA N assessrnent or any

conclusion thereof which might have been subject to an appeal and prevented the minor Plaintiffs removal

(Alabama Administrative Codc 660-5-34-.08).

57.     On information and belief, K. JONES, C. JONES nor WARD ever received any report that could

prompt investigative duties conferred upon RCD1IR through statute.

58.     Despite the allegations in Petition 1 and Affidavits of Efforts by K. JONES and WARD being

deficient of conditions/circumstances of child abuse/ neglect per CA/N Allegations and Definitions, K.

JONES and WARD sought Court Intervention to force the PLA1NTIFF's involuntary acceptance of

protective services without the presence of immediate danger of physical or emotional harm to a child;

without parents who are unwilling or unable to provide for the needs of the minor Plaintiffs, without

abandonment, or an imminent risk of serious harm, or an already existent non-foster care safety plan, and

despite SDHR policy providing that on-going protective services is voluntary unless a safety threat exists

(Alabama Administrative Code 660-5-34-.13(5); 660-5-34-.14(2) and (3).). At no time was any safety

threat present with regard to K. JONES and WARDS allegations.

                                          THE FIRST HEARING



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59.     According to 2015 Annual Report for the Alabama Administrative Office of Courts,(hereinafter

AAOC),"The Family Court Division provides services in seven different, but related, areas for the

Alabama judicial system. Those areas include:• Unified Family Courts • Juvenile Probation Services •

Access and Visitation Grant Program • Court Improvement Program Grants • Judicial Volunteer Program

• Child Support/Referees • Violence Against Women Act(VAWA)." With a stated goal of providing "a

wide array of services so that the juvenile and family courts can be more efficient and effective for

families and children in Alabama", family courts have partnered with executives agencies to streamline

juvenile policies, procedures and processes for faster dependency and permanency outcomes, according to

the report. The AOC 2015 report lists DHR as an agency actively collaborating with AOC on this work.

60.     According to the 2013 for Russell County Children's Policy Council Needs Assessment, the

Russell County Dependency Drug Court was established and began operating under the coordinated effort

of multiple local agencies, state court and county officials. According to the assessment, Dependency

Drug Court is routinely utilized to screen RCDHR dependency cases. Despite screening being a

component of SDHR and its agents executive and administrative duties related to CA/N assessment and

investigation, the RCCPC, under the direction COUNTY,BUCKNER,CITY and ROSS, have created a

policy of utilizing Family Dependency Drugs Courts to perform Child Protective Services Investigations.

61.     According to the 2016 Russell County Children's Policy Council Needs Assessment, RCCPC's

"Family Dependency /Drug Court" was chosen as 1 of only 5 Pilot Sites in the State of Alabama to

implement a new coordinated plan to serve families in the child welfare system (or at risk of going into

the system) affected by substance abuse and/or co-occurring disorders more effectively and improve child

and family outcomes." According to the U.S. Department ofJustice's Statewide System Improvement

Program Publications, Drug courts such as RCCPC Family Dependency Drug Court, function to "expand

the capacity of state agencies to intervene with parents substance use and/or co-co-occuring conditions".

According to the U.S. Department of Health and Human Services(DHHS)' s, Substance Abuse and




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Mental Health Services Administration(SAMHSA), which provides grants to Drug Courts throughout

Alabama, these -and/or" co-occurring conditions include lower-socioeconomic status, increased

difficulties in academic and social settings and family functioning and fewer household resources'. This

pattern and coordinated effort by DECE,RCDHR,COUNTY,CITY, SDHR,law enforcement,juvenile

judges and other local agencies, to expand the power to Family Dependency Drug Courts to include

investigations, and the ability to expand govemment intrusions into family life beyond the narrowly

tailored compelling state interest upon which the use of such police powers is predicated under federal

law, has become ingrained in the fabric of child protective services within Russell County, despite an

abundance of issue regarding separation of powers, partiality ofjuvenile tribunals, the evading of due

process provisions enacted through use of CA/N assessment(Alabama Administrative Code

660-5-34-.08), and despite the risk of damage to the public confidence in the courts once these little

known policies and practices are discovered by the citizenry of the State.

62.     Through the use of Family Dependency Drug Courts, the PLAINTIFFS were subjected to legal

coercion for their refusal to voluntarily accept protective services, despite SDHR policy providing that use

of on-going services being voluntary when conditions/circumstances do not constitute child abuse,'

negiect per CA/N Allegations and Definitions.

63.     On information and belief, Defendants K. JONES, C. JONES, WARD,and BELLAMY,new that

LANDREAU was an Officer within RCCPC,and that at all times relevant to the facts herein,

LANDREAU was agent of COUNTY incapable of rendering an impartial adjudications regarding any

prosecutive by child protective services. With knowledge of LANREAU's conflicts of interest, K. JONES

and WARD filed the dependency action in the RCCPC Family Dependency / Drug Court to force

Plaintiffs involuntary acceptance of Protective Services, despite PLAINTIFF"S consistent refusal of




' See. DHHS Substance Abuse and Mental Health Services Administration(SAMHSA):"The CBHSQ Report"
https:,Iwww.samhsa.gov/data/sites. default/files/report 3223/ShortReport-3223.html



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services and despite the absence of conditions/circumstances constituting child abuse/ neglect per CA/N

Allegations and Definitions and the despite the absence of immediate harm or imminent risk. The

timestamp on the document suggest that it was filed on October 15, 2014 at 11:02 am in Russell County,

Alabama, 14 days after K. JONES and DOE #1's first attempted unwarranted search and seizure despite.

64.      At all times relevant between the dates of October 1, 2014 to August of 2016, Defendant

LANDREAU served as Chairman for RCCPC in service to COUNTY, utilizing the office to expand the

ability of agencies to involuntarily force services through its DHR Screening Policy, in direct conflict

with state law.

65.      At all times relevant, LANDREAU, was presiding over and issuing orders in complete absence of

jurisdiction, as an RCCPC Chairman for COUNTY, who ipso facto vacated his judicial post through

acceptance of and service in the Office of Russell County Children's Policy Council Chairman prior to

October 1, 2014, within Family Dependency Drug Court, and at no time during the relevant facts did

LANDREAU disclose his acceptance of office of RCCPC or his conflicts of interest.

66.      Despite the fact that RCDHR was moving the "Family Courr Juvenile proceeding in District

Court as an agency of the State, which per Amendment 328 Section 6.04(b) of the Alabama Constitution

may only receive original review of their actions in the Circuit Courts of the State, RCCPC Chairman

LANDREAU,in complete absence ofjurisdiction, heard the action and wrote the unlawful orders for the

removal of Mr. Epps' children. Pursuant to Alabama Rules of Judicial Procedure Rule 2,"When a

juvenile court judge is a circuit court judge, the juvenile court judge shall have and exercise full

jurisdiction and power of thc juvenile court and of the circuit court of the Statc. When a juvenile court

judge is a district court judge, the juvenile court judge shall have and exercise full jurisdiction and power

of the juvenile court and of the district court of the State." At all times relevant, LANDREAU held

himself out to be a District Court Judge presiding over a Juvenile (non-Domestic Relations case) which

had been filed by a state agency moving within the courts of the state. At no lime was LANDREAU ever




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acting in any cx-officio Circuit Court Judge Capacity. Even if it could be rationally argued that the

leaislature intended to include juvenile cases among those Domestic Relations cases in District Court

Judges may serve as an ex-officio Circuit Court Judge, Defendant LANDREAU was still in complete

absence ofjurisdiction rclated to his acceptanee of tlic Office of Chairman of RCCPC, an officc that ipso

facto vacates any prior judicial post due to incompatibilities created by Amendnient 328 Section 6.08(b)

of the Alabama Constitution 1901.

67.      At all times relevant, RCDHR and RCCPC's coordinated efforts worked to streamline

dependency procedures to follow a pattern of irregular procedures and unlawful expansions of delegated

authority including but not limited to:

             a. The utilization of Court Intervention by Protective Services without immediate danger or

                 medical emergency present in excess of State law, rules and regulations.

             b. Subjecting parents the involuntary acceptance of services without conditions or

                 circumstances that constitute child abuse / neglect per CA/N Allegations and Definitions,

                 or imminent risk of danger, or exigent circumstances, expanding those Allegations and

                 Definitions to include lower-socioeconomic status; increased difficulties in academic

                 studies, social settings and family functioning; and few household resources despite their

                 being no narrowly tailored statute or compelling government interest associated with

                 these conditions that overcome the strong state and federal protections afforded to the

                 Plaintiffs' familial integrity.

             c. Expanding the powers of the Office of Russell County Children's Policy Council

                 Chairman to include powers reserved exclusively for the Judicial Branch of Government

                 in blatant disregard for constitutional, statutory and judicial rules governing the operation

                 of the judicial branch.

             d. Foregoing due process requirements mandated for RCDHR investigations




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             e. Foregoing warrant requirements for law enforcement

             f.   Utilizing private attorneys to prosecute actions in representation of the state to remove

                  children from the custody of their parents

             g. Expanding the capacity of District Court Juvenile Judges to also exercise Circuit Court

                  powers in juvenile Proceedings in complete absence ofjurisdiction.

             h. Expanding the capacity of RCDHR social workers to include the filing "dependency

                  actions", without expressly granted authority from the legislature, without conducting any

                  investigation, without producing required evidence, and without the presence of the

                  Office of District Attorney or Office of the Attorney General in attendance to these

                  "dependency action" in which the state is allegedly involved.

68.     On or about the early morning of November 6, 2014, Mrs. Epps managed to complete a pleading

in the short time allowed and left the children at home with Mr. Epps to attend the "hearine at or about

08:00 am to avoid the threat of contempt noted on the "surnrnons", but reported that her filings had been

time-stamped and removed by a women reporting to be a "DHR court liaison" ,DOE #2, at or about

08:38 am before the November 6, 2014 hearing began. Mrs. Epps reports Landreau would not allow her

to defend against RCDHR's allegations and that her pleadings were not accepted upon timely request to

the court clerk or the presiding officer over the Family Dependency Drug Court, LANDREAU, who

confiscated the documents before taking recess, never filing the documents on any record. Mrs. Epps

filings contain a motion to dismiss for lack of personal and subject matter jurisdiction, an objection to the

timeliness of the hearing and an affidavit refuting the allegations of K. JONES as to dependency.

69.     Mrs. Epps reports that she was told to go into the hall after LANDREAU recessed where an

Unknown Individual requested that she submit a urine sample for drug testing which Mrs. Epps refused.

Mrs. Epps reports that she said that they waited in the hall for a while and then she was told to talk to

Alford Harden (hereinafter HARDEN),judge of probate. Accompanying HARDEN was Defendant




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BELLAMY who at that time was acting as supervisor to K. JONES. Mrs. Epps reports that she was never

informed that an involuntary commitment proceeding was underway when HARDEN ordered the

Sheriffs Deputies to escort Mrs. Epps to East Alabama Mental Health Outpatient for eval. Mrs. Epps was

evaluated with no finding of danger to herself or others.

70.     Clinical Therapist Jessica Tyler reports that HARDEN solicited her and the Sheriffs deputies

escorting Mrs. Epps to utter a forged instrument avering that Mrs. Epps presented a danger to herself and

others after their was no finding of a danger. Jessica Tyler further reports that both her and the deputies

refused and the deputies escorting her to utter that my wife was a danger to her and others and that

HARDEN responded "I'll find someone". Mrs. Epps was subsequently involuntarily committed on

petition by Lindsey Erwin, who was subsequently appointed as guardian ad litem by LANDREAU in the

RCCPC Family Dependency / Drug Court proceeding.

71.     Mr. Epps nor his children attended the "hearing", as he never received any formal notice to

appear although K. JONES reported that she had done an economic background on the family which

should have contained information which revealed Mr. Epps as the father of the children and a resident in

the home. Despite the presence of this information and despite K. JONES having spoke with Mr. Epps, K.

JONES averred that the father of the children was unknown.

72.     Despite being a fit parent, on or about November 6, 2014 and after his wife was involuntarily

committed, a full swat team was sent to detain Mr. Epps without warrant, probable cause or petition for

any form of involuntary commitment. Mr. Epps was detained and brought to the office of the probate

judge for an off the record meeting by Sheriffs deputies DOE #2, and DOE #3 where he was informed by

the probate judge that if he did not do as the "court" wanted on November 7, 2014 in some sort of

"hearing", that he was not going to get his kids back.

73.     Mr. Epps children were subsequently picked up by RCDHR and other DOES 4 - 7 at his brother's

house on the basis of K. JONES and WARD's petition presided over by LANDREAU in the RCCPC




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Family Dependency Drug Court after he had left them with a cousin to check on the whereabouts of his

wife and being detained by RCSD swat on November 6, 2014 despite(1) K. JONES and WARD's failure

to present any medical report to support any allegation of mental health danger;(2) despite K.. JONES

and WARD's failure to produce a showing of reasonable or probable cause to believe that a crime is

being or is about to be committed or a valid regulation is being or is about to be violated;(3) despite

employees of RCDHR lacking standing to file a dependency action;(4) despite the absence of the office

of-the District Attorney in the prosecution of the action,(5) despite DHR conducting no investigation; and

(6) despite LANDREAU possessing no judicial authority.

74.     Mr. Epps attended the proceeding under threats communicated by Harden on November 7, 2014

presided over by RCCPC Chairman LANDREAU. Despite never posing a danger and despite there being

no allegation of any unfitness, abuse or neglect, as defined in DHR's administrative code, LANDREAU

ordered that Mr. Epps be denied familial association with his children. At no time was Mr. Epps ever

offered the representation of counsel at the hearing on November 7, 2014.

75.     Despite State law requirements that the District Attorney "prosecute and defend any civil action

in the circuit court in the prosecution or defense of which the state is interested" and "attend each session

of the court for which he is district attorney and to remain in the discharge of his duties until the business

of the state is disposed of', at no time did the Office of the District Attorney for Russell County attend

any of these hearing that K. JONES, WARD and LANDREAU which they claimed to be prosecuted on

behalf of the State.

76.     Mrs. Epps was released from involuntary commitment on or about November 13, 2014. Mr. Epps

and his wife subsequently attempted to remove the action to federal district court but had the removal

dismissed.

77.     Mr. Epps and his wife continued to file numerous pro se actions in state and federal court seeking

a vindication of rights which were never heard on the merits.




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                           THE FIRST ORDER KNOWN TO THE PLAINTIFFS

78.      The First order known to the Plaintiffs, signed by Defendant LANDREAU on November 20,

2014, refers to the hearings conducted on November 6, 2014 and November 7, 2014 as "shelter care

hearing". According to the U.S. Department of Justice, Office of Juvenile Justice and Delinquency

Prevention, the flow chart is as follows in sequential order:

             a. Child is removed from the home

             b. Petition filed within 48 hours of child being taken into custody

             c. Initial, Detention hearing (Shelter Care) occurring soon as possible after petition is filed,

                  must be either the same day or the next court day

             d. Jurisdiction Hearing- if the child is detained, this hearing occurings within 15 days of the

                  court's order detaining the child.

             e. Dispositional Hearing- If the child is detained, this hearing occurs within 10 days of

                  Jurisdictional hearing

             f. 6 month review

             g. Permanency Hearing

             h. Selection and Implementation Hearing

             i.   Post-Permanency Review Hearing

79.     At no time before the filing of the petition filed on October 15, 2014 or November 6, 2014 had

the children ever been in the custody of RCDHR.

80.     No pickup orders for November 6, 2014 or November 7, 2014 has ever been produced, and

Plaintiffs have never seen any such order. On information and belief, at no time has RCDHR receive a

report consistent with its investigative duties codified at Title 26 Chapter 14.

81.     In the November 20, 2014 order, LANDREAU ordered the continued holding the children

without any presentation of the following requisite statutory findings:

             a. The child has no parent, legal guardian, legal custodian, or other suitable person able to


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                  provide supervision and care for the child.

             b. The release of the child would present a clear and substantial threat of a serious nature to
                the person or property of others and where the child is alleged to be delinquent.

             c. The release of the child would present a serious threat of substantial harm to the child.

             d. The child has a history of failing to appear for hearings before the juvenile court.

             e. The child is alleged to be delinquent for possessing a pistol, short-barreled rifle, or
                short-barreled shotgun, in which case the child may be detained in a juvenile detention
                facility until the hearing required by Section 12-15-207. Pistol as used in this section shall
                be as defined in subdivision (1) of Section 13A-11-70. Short-barreled rifle and
                short-barreled shotgun as used in this section shall be as defined in Section 13A-11-62.

82.     At no time did LANDREAU make a finding of abuse/ neglect per CA N Allegations and

Definitions, but LANDREAU's orders did contain many statements that were materially false, including

but not limited to:

             a.    "A shelter care hearing was held with the child's mother on November 6, 2014, and
                  again on November 7, 2014, after the child's father could be identified and located. Each
                  hearing was held in a timely manner, and no party objected to the timeliness of said
                  hearing."

             b. "The mother appeared mentally disturbed."

                            EVENTS AFTER REMOVAL OF THE CHILDREN

83.     The Plaintiffs' filed an action into federal court pursuant to 42 USC 1983 against multiple

defendants and COUNTY shortly after receiving LANDREAU's order complaining of denials of due

process and removing filings from the record, which were subsequently dismissed in federal court without

a hearing on the merits.

84.     Shortly after having the removal remanded and suit dismissed without prejudice, C. JONES, K.

JONES, WARD,and POLES began to threaten the PLAINTIFFS that they would familiarly associate

again they did not submit and comply with an "Individualized Service Plan",(hereinafter,"ISP"), which

states "WHAT MUST HAPPEN FOR DHR TO NO LONGER BE INVOLVED WITH YOUR FAMILY.

The parents have to cooperate with DHR and the court system. The mother and father both must have




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their mental health assessed and follow all recommendations of the mental health services. The parents

must also understand the importance of children attending school daily as the parents are not certified

teachers. The parents need to understand the importance of dental and medical treatment for the children."

85.      When Gillipie became added to the group of active social worker involved the ISP and

responsible for investigations, the Original ISP requirements remained intact despite the absence of

imminent danger, exigent circumstances or abuse/ neglect per CA/N Allegations and Definitions, and at

no time did C. JONES, K. JONES,POLES, WARD,GILLISPIE or WHITLEY, who each actively

participated in the formulation and promulgation of the ISP, seek to have LANDREAU's order lifted or

modified as substantially inhibiting attainment of the child's permanency goal or imposes requirements

inconsistent with best practice. On information and belief, C. JONES, K. JONES,POLES, WARD,

GILLISPIE and WHITLEY,knew or should have known that LANDREAU's order were inconsistent

with SDHR best practice with regard to the voluntary participation in Protective Services which do not

constitute child abuse / neglect per CA/N Allegations and Definitions, or imminent risk of danger, or

exigent circumstances, and that LANDREAU's order commanding the acceptance of Protective Services

by the PLAINTIFFS, who adamantly insisted on being let alone, inhibited the attainment of the child's

permanency, which at juncture in the Defendants deprivations remained the return of the children to the

home, that K. JONES' petition contained my falsities, and that LANDREAU had a conflict of interest

stemming from RCCPC employment, yet C. JONES, K. JONES,POLES, WARD,GILLISPIE and

WHITLEY did not seek to have LANDREAU's order lifted or modified (Alabama Administrative Code

660-5-47-.03(1).).

86.     The Plaintiffs continued to resist RCDHR and the Family Courts unreasonable invasion of their

familial integrity refusing to comply with any Individualized Service Plan that did not include RCDHR

and RCCPC Family Dependency Drug Courts immediate cessation of their unreasonable interference and

filing other actions in the state courts. On multiple occasions GILLISPIE stated to the PLAINTIFFS that




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we "weren't going to get the kids back if we keep fighting"..

87.      On or about June of 2015, Mr. Epps and his wife attempted to file a human trafficking criminal

report with TAYLOR as Russell County Sheriff. Heath Taylor proceeding to call LANDREAU over the

phone and informed us that LANDREAU had instructed him not to act on any claims or complaints that

we brought. A report was taken but it is unknown if the cornplaint was filed on the record or investigated

in any manner. It was unknown at this time that TAYLOR was an officer within RCCPC acting under the

direction and control of RCCPC and DECE.

88.      After Mr. Epps' filing of the criminal report, instead of fulfilling the duty to seek to have

LANDREAU's order lifted or modified, C. JONES, K. JONES,POLES, WARD,GILLISPIE and

WHITLEY,chose to advance the holding of the minor Plaintiffs to the Kinship Guardian Program instead

of returning the children home.

89.      Over the following months, Mr. Epps and his wife informed C. JONES, GILLISPIE, and K.

JONES of their religious reservations concerning diet and abstention from immunizations. Despite having

knowledge of these reservations, C. JONES, GILLISPIE and K. JONES immunized the children against

Mr. Epps and his wife's wishes. C. JONES, GILLISPIE, WARD,K. JONES,POLES, WHITLEY and

DOES 1-25 continued to hold the children in an attempt to force Mr. Epps and his wife to accept services

through an Individualized Service Plan (hereinafter, ISP). Mr. Epps and his wife continued to refuse filing

numerous actions in the state courts which were never heard on the merits.

90.     In or about on Sunday in September of2015, Mrs. Epps' father [hereinafter, GRIFFIN] called

Mrs. Epps on behalf of C. JONES. Mrs. Epps' father shares membership at a local church with C.

JONES. Mrs. Epps reports that GRIFFIN asked "Why are y'all keep filing all this paperwork, putting

Cherry's [meaning C. JONES] name on all papers?" Mrs. Epps reports she responded asking "what are

you talking about?". Mrs. Epps states that GRIFFIN informed him that C. JONES had approached him at

church and told him [GRIFFIN] that he needed to "talk to your daughter about putting her [C. JONES]




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name on everything and you need to her to stop filing all this paperwork in court and do what DHR says if

they [Mr. Epps and Mrs. Epps] want to get the kids [children] back. Mrs. Epps reports that an argument

ensued between her and GRIFFIN and then ended with GRIFFIN requesting that Mrs. Epps "stop trying

to sue cherry and she go all down here to the church with me. Stop trying to sue that lady."

91.      On or about October of 2015, Mr. and Mrs. Epps requested and attended a meeting with

defendants C. JONES and WHATELY. Mr. and Mrs. Epps brought to the attention of C. JONES and

WHATELY that K. JONES lied on her petition and that no immediate danger ever existed to warrant

court intervention and the taking of her children. C. JONES and WHATELY informed Mr. and Mrs. Epps

that K. JONES had been terminated from employment with RCDHR after 14 years of service.

92.      At no time did C. JONES or WHATELY, having knowledge that the petition K. JONES contained

lies for the purpose of producing the order which led to the taking of the children inconsistent with best

practice, and having actively participated in the formulation of ISP's involving the Plaintiffs, seek to

have the order lifted or modified as required by State laws and regulations, specifically Alabama

Administrative Code 660-5-47-.03(1).

                                     THE JUNE 16. 2016 REMOVAL

93.     Mr. and Mrs. Epps had another child on June 1, 2016. On or about June 6, 2016, Mr. Epps began

to receive harassing phone calls from Defendant C. JONES at his job requesting that he allow them to

conduct an unwarranted search of his home. Mr. Epps refused the solicitation and filed a police report

with the Phenix City Police Department shortly thereafter on or about June 13, 2016. Mr. Epps requested

the company ofPCPD officers to the office of RCDHR.PCPD officers DOE #10 and DOE #11

accompanied Mr. Epps to the office of RCDHR were he spoke with C. JONES and DOE #9 and requested

that they adhere to their constitutional prohibitions and requisites. C. JONES proceeded to inform Mr.

Epps that her mandate "supersedes any constitutional duty". Mr. Epps left the office and instructed DOE

#10 and DOE #11 that he wanted the police report to document that C. JONES was harassing and trying




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to unlawfully kidnap his children.

94.      On June 16, 2014 at or about 4:30 am, greater than 5 days after the first phone call with C.

JONES,Defendants GILLISPIE and DOE #15 showed up at the home of Mr. Epps with agents ofPCPD,

DOE #10, DOE #11, DOE #12, DOE #13, and DOE #14 demanding an unwarranted search and seizure of

his home. Mr. Epps closed the door to his home after meeting the GILLISPIE and DOE #15, DOE #10,

DOE #11, DOE #12, DOE #13, and DOE #14 outside where he refused their unwarranted search and

seizure. DOE #12 placed Mr. Epps in handcuffs and forced him to sit on the front steps. Mr. Epps

continued to demand a warrant. DOE #12 stated to Mr. Epps"We don't need no warrants, you [Mr. Epps]

watch too much T.V." Over 2 hours passed when DOE #10 was overheard by Mr. Epps saying

"LANDREAU wouldn't sign it."

95.      Approximately 40 minutes after overhearing DOE #10, Mr. Epps was approached by DOE #12

with an unsigned Alabama Administrative Office of Court Form CR-1 Revision 4/99 Application for

search warrant. Mr. Epps continued to refuse the search but the GILLISPIE, DOE #10, DOE #11, DOE

#12, DOE #13, DOE #14 and DOE #15 proceeded to enter Mr. EPPS home without Mr. Epps' or his

wife's consent or the presence of exigent circumstances. At no time was any imminent danger to any

member of his home present nor were any medical emergencies present.

96.      Gillispie took the infant to the hospital. Mr. and Mrs. Epps followed GILLISPIE to the hospital

where they attempted to ascertain why GILLISPIE took the child. Gillispie and the hospital refused to

give Mr. or Mrs. Epps any information or let them see the child. After Gillispie's blatant disregard for the

rights of Mr. and Mrs. Epps and their right to know GILLISPIE's intentions Mr. and Mrs. Epps returned

home.

97.      The following day at or about 08:30 am Mrs. Epps contacted GILLISPIE via phone to find out

the whereabouts of the infant child and to demand the immediate return of the child. Mrs. Epps reports

that GILLISPIE stated "The baby got jaundice and he in the hospital. You didn't have no prenatal care




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and if you gonna have kids you need to be having some sort of prenatal care." Mrs. Epps states she

responded informing GILLISPIE '/2 of her children experienced non life threatening jaundice within the

first two months because she breastfeeds her infants and that she [GILLISPIE] did not have just cause to

take the child as no emergency existed. Mrs. Epps then questioned GILLISPIE as to what made her

speculate that Mrs. Epps didn't have any prenatal care. Mrs. Epps informs that GILLISPIE responded

"Family members give us information." Mrs. Epps states that she knew GILLISPIE was lying as Mr. and

Mrs. Epps had kept the pregnancy secret. Mrs. Epps reports that she went back and forth with GILLISPIE

and the conversation ended abruptly.

98.     After summary removal of the infant by GILLISPIE and DOES, neither Mr. or Mrs. Epps receive

any required 72 hour hearing after the June 16, 2016 summary removal as required by Alabama law and

State Regulation (Alabama Administrative Rule 660-5-34.1I). Despite the absence of

conditions/circumstances that constitute child abuse/ neglect per CA/N Allegations and Definitions,

imrnediate danger or harm, and despite protective custody being prohibited from exceeding 72 hours

without temporary custody orders being issued by a court of competent jurisdiction, and despite holding

protective custody of any child without an order issued from a court of competent being devoid of legal

sanction pursuant to State law and regulations, at no time has any Defendant move to return the children

to the rightful custody of Mr. and Mrs. Epps, despite Family Dependency Courts being completely devoid

jurisdiction, despite GILLISPIE never having conducted any type of CAJN assessment, or having even

seen a child to allege any imminent and immediate danger or medical condition in need of intervention.

99.     Neither Mr. or Mrs. Epps ever received any petition from GILLISPIE or the Family Dependency

Drug Court.

100.    On information and belief, C. JONES,POLES,BELLAMY,and WHATLEY were terminated in

or about July of 2016. GILLISPIE became more active in promulgation of the ISP sought to be forced on

the PLAINTIFFS. At all times relevant, GILLISPIE knew or should have known that her holding of




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K.I.E. since June 16, 2016 was unlawful and devoid of legal sanction due to a failure to receive an order

from a court ofcompetent jurisdiction for the continuation of protective services and knew of prior issues

mentioned herein that invoked a mandated duty on GILLISPIE to seek to have LANDREAU's order lifted

or modified. Instead of seeking to have LANDREAU's order and whatever order relied upon by

GILLISPIE rendered in the Family Dependency Court to continue the detention of K.I.E., GILLISPIE

recommended moving for termination of parental rights of Petitions in an attempt to further exacerbate

the familial deprivations suffered by the PLAINTIFFS.

101.     On October 28, 2016, Defendant COLLINS was appointed District Court Judge and Juvenile

Judge to fulfil a vacancy left by LANDREAU. In November of 2016,ZACH COLLINS ipso facto

vacated to Office of District Court Judge, accepting the Office of RCCPC Chairman in service to

COUNTY. At no time did COLLINS ever publicly disclose the the accepts of his post in RCCPC.

Knowledge of some of COLLINS close relationships with RCDHR became known to PLAINTIFFS in or

about June of 2017.

102.     Based on this limited knowledge of COLLINS extrajudicial relation with RCDEIR regarding the

workings of the courts, the parents sought recusal of COLLINS, but COLLINS ignored the request.

PLAINTIFFS also informed COLLINS of the lack of imminent danger, immediate threat, and

abuse/neglect, and as defined by Administrative Rules, and of the failures at due process and respect for

familial integrity on part of the individual Defendants. COLLINS had also be informed that no service of

any papers related to the termination had been affected on Mr. or Mrs. EPPS. COLLINS ignored the

request utimately terminating the parental rights of PLAINTIFFS in complete absence of Jurisdiction just

as LANDREAU.PLAINTIFFS also timely filed a demand for exculpatory evidence by the SDHR but

that request was ignored by COLLINS and SDHR.

103.    In August of 2017, RCCPC Chairman, Defendant COLLINS,terminated the parental rights of

PLAINTIFFS in the RCCPC Family Dependency Drug Court on petition of GILLISPIE. Despite Mr. and




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Epps informing COLLINS of

                    THE APRIL 11, 2018 UNWARRANTED SEARCH AND SEIZURE

104.     On or about April 11, 2018, RCDHR agents again arrived at the home of Mr. Epps and demanded

search of his home on suspicion that Mr. Epps had another child. At no time did DOE #16, DOE #17,

DOE #18, DOE #19, DOE #20 or DOE #21 report any imminent danger, exigent circumstances, that a

crime was afoot or about to occur, that any medical emergency existed. At no time did DOE #16, DOE

#17, DOE #18, DOE #19, DOE #20 or DOE #21 produce any papers related to visit.

105.     After having the unwarranted search refused by Mr. Epps and his wife, Russell County

Department of Human Resources agent Defendants DOE #16, and DOE #17; RCSD DOE #18, DOE #19;

and PCPD DOE #20 and DOE #21 proceeded to conduct the unwarranted search and seizure without

warrant or the presence ofimminent danger. After finding nothing at Mr. Epps home, the agents left. The

following day Mr. Epps appeared at the Russell County Courthouse where he discovered that no action

had been filed with the office of the clerk of court and that no other papers related to the April 11, 2018

unwarranted search had originated with the clerk. After making this discovery, Mr. Epps immediately

filed for a protection order pursuant to Section 30-5-5 of the Alabama Code which was not ruled on

within the time prescribed by law. The petition was ultimately dismissed without hearing by RCCPC

Chairman Zach Collins approximately six months later. On information and belief, at no time did DOE

#16 or DOE #17 receive a report that could invoke RCDHR investigative duties pursuant to statute.

                          MEDICAL TREATMENT WITHOUT NOTICE/CONSENT

106.     During the pendency of the juvenile dependency court process the Plaintiffs were subjected to as

a result of the removal of their children, C. JONES, GILLISPIE and K. JONES, and/or other yet unknown

defendants(Does 21 - 25)subjected the minor Plaintiffs to invasive medical examinations and

procedures, including but not limited to:

             a. the administration of vaccinations in violation of the parents express statements that their
                children were not to be immunized and specific withholding of consent for
                immunizations,


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             b. dental examinations and procedures, including the use of mercury fillings in the
                children's teeth, and

             c. mental health evaluations.

                                              CHILD SUPPORT

107.    In or about October of 2017, Mr. Epps received a notice of intent to suspend license for failure to

pay child support derived from the defendants' unlawful removal of the minor Plaintiff from Mr. and Mrs.

Epps' custody. The informed that Mr. Eppd may choose a hearing to avoid suspension if within 60 days

as a requirement of due process. After timely requesting a hearing to contest the child support license

suspension, Gillispie, and DOES #26 - 30 failed to adhere to their ministerial duty to provide a hearing

regarding the suspension and suspended the license without cause. As a result of Gillispie, and DOES #26

- 30 omission of these due process requirement, Mr. Epps was arrested and detained on two routine traffic

stops which resulted in fines, fees and arrest for driving while license suspended.

                                               IV DAMAGES

108.     As a result of the conduct of Defendants, Plaintiffs suffered severe emotional distress, anxiety and

general damage to their psyche, to such the presence of constant fear as to the privacy of the home being

arbitrarily and capriciously intruded upon., symptoms severe depression, including but not limited to

sleeplessness, headaches, fatigue, malaise, irritability, inability to focus, a generalized fear of authority

figures and social workers, loss of appetite and loss of weight. In March of 2016, Mr. Epps had prominent

employment at a local hospital. ln the short time between March of2016 and the June 16, 2016 removal,

Mr. Epps had become a standout at his employment, receiving his own office space and the expectation of

a raise within the following month. C. JONES' repeated harassing call to his place of employment and the

various departments within the hospital caused Mr. Epps to ultimately quit. The incident also caused

humiliation and embarrassment and loss of reputation in the community to PLAINTIFFS, has caused the

incursion of medical fees, therapy fees, and expenses related thereto, and is likely to cause the incursion




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of further medical, therapy, and/or counseling fees in the future as well as expenses related thereto. These

actions have also resulted claims against PLAINTIFFS' persons for child support stemming from the

Defendants unlawful interference with custody.

109.     PLAINTIFFS are informed and believe, and thereupon allege, that they were placed on various

state and local database registries for perpetrators of child abuse, further damaging their reputation and

likely causing damages in the future in their rights of membership, society, community participation, and

association.

110.     PLAINTIFFS seek an award of exemplary (punitive) damages under federal law and pursuant to

Code of Alabama §6-11-20 to make an example of and punish DEFENDANTS,and in the hope of

deterring future conduct of a similar nature.

                                          V. CLAIMS FOR RELIEF

                                              COUNT ONE
  Violations of the 4th Amendment - Entry [Defendants: Gillispie; DOE #10, DOE #11, DOE #12, DOE
#13, and DOE #14, DOE #15, DOE #16, DOE #17, DOE #18, DOE #19, DOE #20 and DOE #21][Claim
  re: Gillispie and Doe's entry into the home without consent, probable cause, or exigent circumstances]

111.    PLAINTIFFS re-allege and incorporate paragraphs 1 through 110, inclusive, as though fully set

forth at this point, as they relate to a cause of action for a violation of Plaintiffs' civil rights under the 4th

Amendment to the United States Constitution, with regard to the warrantless entry into PLAINTIFFS'

residence by Gillispie and DOE #10, DOE #11, DOE #12, DOE #13, and DOE #14, DOE #15, DOE #16,

DOE #17, DOE #18, DOE #19, DOE #20 and DOE #21.

112.     PLAINTIFFS allege the entry into their residence was undertaken without consent, probable

cause, a protective custody warrant, abuse/neglect as defined by Administrative Rules, or exigent

circumstances justifying DOE #10, DOE #11, DOE #12, DOE #13, and DOE #14, DOE #15, DOE #16,

DOE #17, DOE #18, DOE #19, DOE #20 and DOE #21.

113.    PLAINTIFFS re-allege paragraphs 108 through 110 as said damages relate to a cause of action

for a violation of their civil rights for the warrantless entry into their home.



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114.    The punitive damage allegations of paragraph 110 apply in this cause of action as against

GILLISPIE and DOE #10, DOE #11, DOE #12, DOE #13, and DOE #14, DOE #15, DOE #16, DOE #17,

DOE #18, DOE #19, DOE #20 and DOE #21.

                                           COUNT TWO
 Violations of the 4th Amendment - Search and Seizure [Defendants: COUNTY, CITY, GILLISPIE, DOE
#4, DOE #7, DOE#6,DOE#8, DOE #10, DOE #11, DOE #12, DOE #13, DOE #14, and DOE #15][Claim
   re: search upon entry by GILLISPIE, DOE #10, DOE #11, DOE #12, DOE #13, DOE #14, DOE #15,
                              DOE #16, DOE #17, DOE #20 and DOE #21]

115.    PLAINTIFFS re-allege and incorporate paragraphs 1 through 114, inclusive, as though fully set

forth at this point, as they relate to a claim for relief for the unlawful search ofPLAINTIFFS' home, and

the minor Plaintiffs incorporate said paragraphs, as though fully set forth at this point, as they relate to a

claim for relief for the unlawful seizure of their persons.

116.    PLAINTIFFS allege the facts and circumstances set forth hereinabove with regard to the unlawful

search of the PLAINTIFFS' home by Gillispie, DOE #4, DOE #7, DOE#6,DOE#8,DOE #10, DOE #11,

DOE #12, DOE #13, DOE #14, DOE #15, DOE #16, DOE #17, DOE #20 and DOE #21, and the removal

of the minor Plaintiffs, constituted both an unlawful search of their residence and an unlawful removal of

the minor Plaintiffs, in that said search and seizure was undertaken without consent, probable cause, a

protective custody warrant, exigent circumstances, or

117.    PLAINTIFFS re-allege paragraphs 108 through 110 at this point as said damages relate to a claim

for relief for the unlawful search, as stated.

118.    The punitive damage allegations of paragraph 110 apply in this claim for relief to G1LL1SP1E,

DOE #4, DOE #7, DOE#6,DOE#8,DOE #10, DOE #11, DOE #12, DOE #13, DOE #14, DOE #15, DOE

#16, DOE #17, DOE #20 and DOE #21.

                                         COUNT THREE
 Violations of the 14th Amendment - Seizure/Interrogation [Defendants: COUNTY,CITY, GILLISPIE,
 DOE #10, DOE #11, DOE #12, DOE #13, DOE #14, and DOE #15][Claim re: Seizure/interrogation of
                                 children over parent objection .]




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119.    PLAINTIFFS re-allege and incorporate paragraphs 1 through 118, inclusive, as though fully set

forth at this point, as they relate to a claim for relief for a violation ofPLAINTIFFS' rights under the 14th

Amendment to the United States Constitution, against LANDREAU,COLLINS,BELLAMY,

WHATLEY, WARD,GILLISPIE, C. JONES,K. JONES, and DOE #4, DOE #7, DOE#6, DOE#8,DOE

#10, DOE #11, DOE #12, DOE #13, DOE #14, and DOE #15, and by virtue of the existence of policies,

practices, customs and procedures, as well as inadequate training on the standards under federal and/or

state law allowing for the warrantless removal of children and due process, the COUNTY, with regard to

the violation of the PLAINTIFFS' rights offamilial association with their children by way of the

interrogation and holding of the PLAINTIFFS' children over the PLAINTIFFS' objection.

120.    PLAINTIFFS re-allege the interrogation and holding of their children was undertaken without

consent, probable cause, a protective custody warrant, or exigent circumstances justifying interrogation or

holding of the minor children, and that the policies, practices, customs, procedures, or inadequate training

of social workers such as GILLISPIE, C. JONES and K. JONES, GILLISPIE,POLES,BELLAMY,and

DOE #16, and DOE #17, and law enforcement officers such as DOE #10, DOE #11, DOE #12, DOE #13,

DOE #14, DOE #20 by CITY, were a contributing or driving force behind the action of unlawfully

interrogating their children, and exhibited a deliberate indifference to the rights of citizens of the County

of Russell generally, and PLAINTIFFS specifically.

121.    PLAINTIFFS re-allege paragraphs 108 through 110 as said damages relate to a claim for relief

for a violation of PLAINTIFFS' civil rights for the unlawful interrogation of the minor children.

122.    The punitive damage allegations of paragraph 110 apply in this claim for relief to TAYLOR,

BELLAMY, WHATLEY, WARD,GILLISPIE, C. JONES, K. JONES, and DOE #10, DOE #11, DOE

#12, DOE #13, DOE #14, and DOE #15.

                                           COUNT FOUR
   Violations of the 14th Amendment - Violation of 14th Amendment — Interference Familial Relations
[Defendants: COUNTY,CITY, TAYLOR,COLLINS,LANDREAU, GILLISPIE, C. JONES, K. JONES,
    BELLAMY,WHITLEY, WARD,DOE #10, DOE #11, DOE #12, DOE #13, DOE #14, and DOE
                             #15][Claim re: Claim re: Removal of children.]


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123.     PLAINTIFFS re-allege and incorporate paragraphsl through 122, inclusive, as though fully set

forth at this point, as they relate to a claim for relief for a violation of PLAINTIFFS' rights under the 14th

Amendment to the United States Constitution, against COLLINS,LANDREAU,C. JONES, K. JONES,

GILLISPIE, BELLAMY, WHITLEY, WARD,DOE #10, DOE #11, DOE #12, DOE #13, DOE #14, and

DOE #15, and by virtue of the existence of policies, practices, customs, and procedures, as well as

inadequate training on the standards under federal and'or state law allowing for the warrantless removal

of children, the COUNTY and CITY, with regard to the violation of the PLAINTIFFS' rights of familial

association with their children by way of their warrantless removal.

124.    PLAINTIFFS re-allege that all removals utilizing RCCPC Family Dependency Courts were

undertaken in the complete absence ofjurisdiction, and without consent, probable cause, valid warrant,

immediate danger, conditions/circumstances constituting child abuse child abuse/ neglect per CA/N

Allegations and Definitionsor, or exigent circumstances justifying removal of the minor children, and

involuntary participation in Child Protective Services by the Plaintiff, and that the policies, practices,

customs, procedures, or inadequate training of social workers such as K. JONES, GILL1SPIE,

BELLAMY, WHITLEY and RCCPC officers such as TAYLOR,LANDREAU,C. JONES, and

COLLINS by COUNTY,and DECE and law enforcement officers such as DOE #4, DOE #7, DOE#6,

DOE#8,DOE #18, and DOE #19 by TAYLOR,and DOE #10, DOE #11, DOE #12, DOE #13, DOE #14,

DOE #20 and DOE #21 by CITY, were a contributing or driving force behind the action of removing their

children needlessly and without a warrant from PLAINTIFFS.

125.    PLAINTIFF further re-alleges that LANDREAU and COLLINS, due to acceptance of the Office

of RCCPC Chairman in service to COUNTY,and the ipso facto vacation of incompatible judicial office

held before acceptance of the new incompatible offices as required by state law (Constitution of Alabama

1901 Amendment 328 Section 6.08(b).), did not, and could not preside in a court competent jurisdiction

to hear juvenile petitions(Alabama Rules of Juvenile Procedure Rule 2), could not preside over a court of



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competent to hear a juvenile petition executed by a state agency regardless of any ipso facto vacation

(Ala. Const. Amendment 328 Section 6.04(b) and Section 6.05), and could not hear or preside over any

matter in which his duty as RCCPC to expand the capacity of agencies to intervene into family integrity,

conflict with the Plaintiffs, and knowing that they could not possess any judicial power to make any

adjudications regarding custody or the removal of the rninor Plaintiffs, and that the exercise of the powers

to judicially review original agency actions, such as Juvenile Dependency Action, are reserved for a

circuit court judges. Any adjudication by RCCPC Chairman LANDREAU and/or COLLINS constituted a

fraud on the court, and were in direct violation of state law governing juvenile proceedings(Code of Ala.

Section 12-15-101(b)(2).),juvenile procedures(Alabama Rules of Juvenile Procedure Rule 2),

prohibitions on multiple office holdings by state court judges (Ala. Const. Amendment 328 Section

6.08(b).), reviews of agency actions (Ala. Const. Amendment 328 Section 6.01), the protection of

PLAINTIFFS right to privacy during DHR investigations seeking court intervention (Code of Ala.

Section 26-14-7), and the illegality of"Protective Service" extending greater than 72 hours without order

from a court of competent jurisdiction (Ala. Admin. Code 660-5-34-.11), and that the policies, practices,

customs, procedures, or inadequate training of RCCPC officers by COUNTY,and DECE were a driving

force behind the action of altering custody of children in the complete absence ofjurisdiction.

126.     PLAINTIFFS allege that the removal of minor Plaintiffs, and/or their placement other than with

PLAINTIFFS,from the time oftheir removal and continued detention, is achieved by Misrepresentations

in violation of Section 6-5-101 Code of Alabama, Suppression of material fact in violation Ala. Code

Section 6-5-102, Code of Alabama 1975, deceit in violation of Ala Code Section 6-5-104, False

Imprisonment in violation of Ala Code Section 6-5-170, False Swearing in violation of Ala. Code 6-5-180

and Interference with Custody in violation of Ala. Code Section 13A-6-45, Corrupting Testimony in

violation of Ala. Code Section 13A-10-12, Sham Legal Proceedings in violation of Ala. Code Section

13A-10-132, and Failure to Disclose Ala. Code Section 13A-10-62.




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127.    PLAINTIFFS re-allege paragraphs 108 through 110 as said damages relate to a claim for relief

for a violation of PLAINTIFFS' civil rights for the warrantless removal of the minor children.

128.     The punitive damage allegations of paragraph 110 apply in this claim for relief to TAYLOR,

COLLINS,LANDREAU, GILLISPIE, C. JONES,K. JONES,BELLAMY, WHITLEY, and WARD

                                               COUNT FIVE
Violation of 14th Amendment — Continued Detention [Defendants: COUNTY,COLLINS,LANDREAU,
    GILLISPIE, C. JONES,K. JONES,POLES, WHITLEY, WARD][Claim re: Claim re: Continued
 detention of children after removal through Detention and Jurisdictional hearings in dependency matter,
  accomplished by repeated use of false statements of fact, misrepresentations, and omission ofrelevant
facts in testimony, and reports, and failure to petition to modify an order inconsistent with best practices]

129.    PLAINTIFFS re-allege and incorporates paragraphs 1 through 128, inclusive, as though fully set

forth at this point, as they relate to a claim for relief for a violation of PLAINTIFFS' rights under the 14th

Amendment to the United States Constitution, with regard to the violation of PLAINTIFFS' rights of

familial association with their children, as separate and distinct from removal of the children, and

consisting of the continued detention of the children, and is a claim against Defendants COLLINS,

LANDREAU,GILLISPIE, C. JONES,K. JONES,POLES, WHITLEY, WARD,and by virtue of the

existence of policies, practices, customs and procedures, as well as inadequate training on the standards

under federal and'or state law allowing for the warrantless removal and continued detention of children,

the COUNTY.

130.    PLATNTIFFS allege that the continued detention of the children was accomplished in the

complete absence ofjurisdiction by RCCPC Family Dependency Courts, through the exercise of a fraud

upon the court, misrepresentations, refusals to modify orders that are against best practice and

incompatible with permanency goals as required by law (Alabama Administrative Code 660-5-47-.03),

and sham legal proceedings, and was in direct contravention of state law which mandates that

participation in protective services be voluntary when family conditions/ circumstances appear to be

presenting a risk of maltreatment and the conditions/circumstances do not constitute child abuse/ neglect

per CA/N Allegations and Definitions (Alabama Administrative Code 660-5-34-.13) and that the policies,



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practices, customs, procedures, or inadequate training of social workers and RCCPC Officers by

COUNTY, were a driving force behind the action continuing the detention ofthe children needlessly and

without a warrant.

131.    PLAINTIFFS allege that the continued detention of minor Plaintiffs, and/or their placement other

than with PLAINTIFFS,from the time of their removal and through the period of time until they are

returned to PLAINTIFFS is achieved by sham proceedings, concealment of evidence, by the presentation

of false facts and the exclusion of exculpatory facts and information to courts of competent jurisdiction.

132.     Defendants COLLINS,LANDREAU,GILLISPIE, C. JONES, K. JONES,POLES, WHITLEY,

and WARD did not at any time, reasonably consider, implement, or attempt, any aspect of the "reasonable

efforts" ,"good cause" , or voluntariness of protective services involvement where family conditions/

circumstances appear to be presenting a risk of maltreatment and the conditions/circumstances do not

constitute child abuse/ neglect per CA/N Allegations and Definitions, as required by Alabama law and/or

regulations regarding social work,juvenile procedure, and child protective services, and this conduct is

also a result of the deliberate indifference to the rights and safety of parents and children evidenced by the

failure to train, or failure to train adequately, those employees such as the employee defendants herein of

COUNTY.

133.    Alabama laws, including but not limited to Code of Alabama Section 26-14-7, Section 12-15-140,

Section 12-15-301(11), and Section 12-15-319(7); and Ala. Admin. Rules 660-5-34-.10(2), and

660-5-34-.13 require reasonable efforts be made when child protective services be invoked to avoid

removing the child and continue home placement, and require that services are voluntary when abuse and

neglect does not meet the definition of SDHR and/or exigent circumstances are not present. No such

reasonable effort were made in this matter and no such voluntary consent to protective services has ever

been granted to PLAINTIFFS.

134.    PLAINTIFFS re-allege paragraphs 108 through 110 as said damages relate to a claim for relief




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for a violation of PLAINTIFFS' civil rights for the warrantless removal of the minor children.

135.     The punitive damage allegations of paragraph 110 apply in this claim for relief to TAYLOR,

POLES, WARD,K. JONES, GILLISPIE, BELLAMY, WHATLEY,COLLINS, and LANDREAU.

                                                COUNT 6
 Violation of 14th Amendment — Unauthorized Medical Procedures Defendants: WHITLEY,C. JONES,
GILLISPIE, BELLAMY, LANDREAU,POLES, WARD,K. JONES][Claim Re: Unauthorized medical /
    dental procedures, inoculations, physical examinations and mental health evaluations of the minor
                           children without prior notice to parents, or consent.]

136.    PLAINTIFFS re-allege and incorporate paragraphs 1 through 135, inclusive, as though fully set

forth at this point, as they relate to a claim for relief for a violation ofPLAINTIFFS' rights under the 14th

Amendment to the United States Constitution, with regard to the violation ofPLAINTIFFS' rights of

familial association with their children, as separate and distinct from the removal of the children and the

continued detention of the children, and consisting of depriving the PLAINTIFFS' of the right to decide

whether or not their children are to receive rnedical care, unwarranted voluntary protective services, and

the right to be notified, and be present when their children are to receive medical care, and against

LANDREAU, WARD,GILLISPIE, C.JONES, K. JONES,POLES,BELLAMY and WHITLEY, and by

virtue of the existence of policies, practices, customs and procedures, as well as inadequate training on the

standards under federal and/or state law allowing parents the right to decide whether or not their children

are to receive medical care and the right to be notified and be present when their children are to receive

medical care, the COUNTY.

137.    PLAINTIFFS allege that PLAINTIFFS' children's vaccines were achieved by the presentation of

false facts and information and the exclusion of exculpatory or mitigating facts and/or failing to seek to

lift or modify an order in consistent with permanency goals or best practices.

138.    LANDREAU,GILLISP1E, C. JONES,K. JONES, WHITLEY, WARD,POLES, and

BELLAMY's conduct is also a result of the deliberate indifference to the rights and safety of parents and

children evidenced by the failure to train, or failure to train adequately, those employees such as the




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employee defendants herein of COUNTY.

139.    PLAINTIFFS re-allege paragraphs 108 through 110 as said damages relate to a claim for relief

for a violation ofPLAINTIFFS' civil rights for the warrantless removal of the minor children.

140.    The punitive damage allegations of paragraph 110 apply in this claim for relief to LANDREAU,

GILLISPIE, C. JONES, K. JONES, WHITLEY, WARD,POLES, and BELLAMY.

141.    PLAINTIFFS re-allege paragraphs 1 through 140 as said damages relate to a claim for relief for a

violation ofPLAINTIFFS' civil rights for the continued detention ofPLAINTIFFS' children in violation

of PLAINTIFFS' rights of familial association, and against said individual plaintiffs and COUNTY.

142.     The punitive damage allegations of paragraph 139 apply in this claim for relief to C. JONES,

GILLISPIE, BELLAMY, LANDREAU,POLES, WARD,K. JONES

                                                COUNT 7
     Intentional Infliction of Emotional Distress [Defendants: TAYLOR,LANDREAU,COLLINS,
GILLISPIE, C. JONES, K. JONES,BELLAMY, WHITLEY, WARD][Claim re: Entire course of conduct
 and specific conduct of defendants from removal, through detention and submission of false allegations
       and evidence in dependency proceedings, and subjecting of the minor children to medical /
             dental procedures and inoculations without prior notice and consent of parents.]


143.    The adult PLAINTIFF Dammuon Epps reallegs and incorporate paragraphs 1 through 142

inclusive, as though fully set forth at this point, as they relate to a claim for relief for intentional infliction

of emotional distress

144.    The adult PLAINTIFF Dammuon Epps alleges the facts and circumstances set forth hereinabove

as related to the wrongful entry into and search of their home,the wrongful removal and continued

detention of their children, and the Defendants' false statements and misrepresentations to the juvenile

court, failures to disclose and/or intentional withholding of exculpatory evidence get order modified or

lifted, failures to disclose and/or intentional withholding of evidence, and unlawful medical care and

failure to notify parents of said medical care appointments, set forth all necessary elements for a claim for

relief against Defendants TAYLOR, LANDREAU,COLLINS, GILLISPIE, C. JONES,K. JONES,




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BELLAMY, WHITLEY, and WARD for intentional infliction of emotional distress, and that the actions of

the named individual and Doe Defendants set forth hereinabove were intended to cause, or were engaged

in with reckless disregard for the rights of the adult PLAINTIFFS' Sebastian & Mirsha and/or the

likelihood of causing the adult PLAINTIFF Dammuon Epps severe emotional distress, and did cause such

distress and violate the adult PLAINTIFF Dammuon Epps rights.

145.      The adult PLAINTIFF Dammuon Epps re-allege paragraphs 108 through 110 as said damages

relate to a claim for relief for intentional infliction of emotional distress.

l 46.     The punitive damage allegations of paragraph 136 apply in this claim for relief to TAYLOR,

LANDREAU,COLLINS, GILLISPIE, C. JONES,K. JONES,BELLAMY,WHITLEY, and WARD.

                                               COUNT 8
   Monell Liability — Entry, Search, Removal, Continued Detention, Medical Procedures-[Defendant .
                                     COUNTY,BUCKNER,ROSS]

147.      PLAINTIFFS re-allege, adopt, and incorporate as if set forth at length, and to the extent

applicable, paragraphs 1 through 147.

148.      At all relevant times herein, Defendant BUCKER,ROSS, and COUNTY,including through its

RCDHR,and RCCPC, established and/or followed policies, procedures, customs, and/or practices

(hereinafter collectively referred to as "policy" or "policies") which policies were the cause of violation of

PLAINTIFFS' constitutional rights protected pursuant to 42 U.S.C. § 1983, as well as the case of Monell

v. New York City Department of Social Services, 436 U.S. 658 (1978), including those under the First,

Fourth, and Fourteenth Amendments, including but not limited to:

              a. The policies, practices, and procedures ofCOUNTY and DECE of detaining and/or

                  removing children from their parents without exigent circumstances (imminent danger of

                  serious bodily injury), court order and/or consent of their parents;

              b. The COUNTY,and DECE policies, practices, and procedures of causing minor children

                  to be dependents of the COUNTY and DECE and as to COUNTY and DECE,fabricating




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                  and misrepresenting evidence, excluding and/or hiding exculpatory evidence from the

                  court, utilizing sham proceedings and predetermined adjudications for dependency all in

                  an effort to cause the children to continue to be dependents of the court, removing the

                  children's legal and physical custody from their parents beyond a reasonable period after

                  the basis for any such removal is negated, had it ever existed;

             c. The policies, practices and procedures of COUNTY,and DECE of personnel (social

                  workers, CPS, RCDHR,RCCPC)signing and presenting petitions in dependency actions

                  under the penalty of perjury without personal knowledge of the truth and or accuracy of

                  the allegations contained therein and having not done any investigation or CA/N

                  assessment of any kind as to the content of the allegations made, and the use of sham

                  proceedings;

             d. The policies, practices, and procedures of COUNTYand DECE of providing

                  nonemergency medical care to minors without parental approval and/or court order and

                  failing to notify parents and/or allow parents to attend medical appointments and

                  procedures;

             e. The policies, practices and procedures of COUNTY and DECE refusing to provide

                  exculpatory and/or relevant and related evidence, testimony, reports, and information

                  regarding the investigation ofjuvenile dependency matters, even when properly requested

                  and demanded; and refusal to seek to lift or modify court orders that are against best

                  practices or inconsistent with the permanency plan, and

             f.   By acting with deliberate indifference in implementing a policy, practice, or procedure of

                  non-existent and/or inadequate training, and/or by failing to train their respective officers,

                  agents and employees, in providing the Constitutional protections guaranteed to

                  individuals, including those under the First, Fourth, and Fourteenth Amendments, when




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                 performing actions related to the investigation of child abuse and neglect, including

                 dependency type proceedings. Defendant BUCKNER,ROSS and COUNTY,as well as

                 RCDHR and RCCPC as agencies or agents of the COUNTY,BUCKNER and ROSS had

                 duties to PLAINTIFFS at all times to establish, implement and follow policies,

                 procedures, customs and/or practices which confirm and provide for the protections

                 guaranteed PLAINTIFFS under the United States Constitution, including the First,

                 Fourth, and Fourteenth Amendments; to use reasonable care to select, supervise, train,

                 control and review the activities of all agents, officers, and employees in their employ,

                 including within RCDHR and/or RCCPC; and further, to refrain from acting with

                 deliberate indifference to the Constitutional rights of PLAINTIFFS herein so as to not

                 cause PLAINTIFF the injuries and damages alleged herein.

149.     Defendants BUCKNER,ROSS,and COUNTY breached their duties and obligations to

PLAINTIFFS,including, but not limited to, failing to establish, implement and follow the correct and

proper Constitutional policies, procedures, customs, and practices, by failing to properly select, supervise,

train, control, and review their respective agents and employees as to their compliance with Constitutional

safeguards; and by permitting named Defendants, and other defendants whose identities are not yet

known, to engage in the unlawful and unconstitutional conduct as herein alleged.

150.     Defendant DECE,COUNTY also provided inadequate and/or non-existent training, including but

not limited to, 1.) non-existent and/or inadequate training on the Fourth and Fourteenth Amendments as

same apply in the context of a child abuse investigation that may involve the removal of children from

their parent(s), 2.) the existence and/or use of protective custody warrants provided for under-ettiriontra

law, 3.) the emotional trauma and psychological damage to a child from removal, 4.) the clearly

established law of this federal circuit on the issues of warrantless removals, exigency, least intrusive

means, and the proper investigation before removal of a child, 5.) state law applicable to juvenile




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dependency proceedings and the reunification of children with their parents, and/or avoidance of removal

entirely.

151.     PLAINTIFFS re-allege the allegations of paragraphs 108 through 110 as said damages relate to a

claim of relief for a violation of their civil rights as stated and pursuant to the aforesaid policies, practices,

procedures, and/or customs, and/or non-existent / inadequate training.

152.     These actions, or inactions, of Defendants are the legal cause of injuries to PLAINTIFFS as

alleged herein, and as a result thereto, PLAINTIFFS have sustained general and special damages, and

expenses, including those as authorized by 42 U.S.C. § 1983, to an extent and in an amount subject to

proof at trial.

WHEREFORE,PLAINTIFFS respectfully requests that this Court:

1.) Award PLAINTIFFS general, special and compensatory damages in an amount to be proven at trial;

2.) Award PLAINTIFFS punitive damages against individually named Defendants, and each of them, for

their extreme and outrageous conduct in complete disregard for the rights of the PLAINTIFFS;

3.) Grant PLAINTIFFS such other and further relief as the Court may deem just and proper.




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